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                           UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION


  EILEEN LYNCH, ERIN RUBIO, and                       )
  ANEESA SALEH,                                       )
                                                      )
         Plaintiffs,                                  )    Case No. 2021-cv-00366
                                                      )
                        v.                            )    Judge Sara L. Ellis
                                                      )
  BOARD OF TRUSTEES OF                                )    Magistrate Judge Sheila M. Finnegan
  COMMUNITY COLLEGE DISTRICT                          )
  NO. 508 d/b/a CITY COLLEGES OF                      )
  CHICAGO,                                            )
                                                      )
         Defendant.                                   )


            THIRD JOINT MOTION TO RESOLVE DISCOVERY DISPUTES

        Plaintiffs, through their counsel, and Defendant, through its counsel, and pursuant to

Federal Rules of Civil Procedure 26, 34, and 37, jointly move this Honorable Court for an order

resolving discovery disputes relating to Entry Nos. 94-98, 105, 107-110, 113-121, 123, and 183 of

Defendant’s Amended Privilege Log, and in support of which state the following.

   BACKGROUND RELEVANT TO THE DISCOVERY DISPUTE AND COMPLIANCE WITH LR 37.2

Plaintiffs’ Position

Defendant Attempted to Conceal Highly Relevant Evidence and Continues to Withhold
Personnel Communications under Claims of Privilege

       On January 31, 2023, this Court ordered Defendant to complete its production of all written

discovery, including ESI, by March 31, 2023, and to provide an affidavit of completeness regarding

the same. [See Docket No. 79, p. 10] Although Defendant filed a Notice of Compliance, asserting it

had complied with the Court’s order, Defendant qualified this assertion by confirming it had

“produced all non-protected, non-privileged ESI that is responsive to Plaintiffs’ discovery requests.”


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[See Docket No. 82, p. 3] Concerned, Plaintiffs’ counsel contacted Defendant’s counsel to request an

updated privilege log and to ask that Defendant provide more information as to the unspecified other

“protection” to which it referred. [Ex. A, April 4 Email] In response, Defendant stated it was still

working on a log but that it had finished producing all ESI. [Ex. B, April 5 Email]

        Two weeks later, within days of Plaintiff Saleh’s scheduled deposition, Defendant produced

another 2,000 pages of ESI. Among these pages – produced belatedly and more than 2 years into the

litigation – were highly relevant emails that are, frankly, devastating to Defendant’s core defense to

this action, laying bare the blatant pretext in firing Plaintiffs. Specifically, Defendant claimed that

Plaintiffs were terminated from their positions of Dean and Associate Deans of Student Services at

Daley College as part of a restructuring of the department, from a Department of Student Services to

a Department of Student Development. While this asserted restructuring, which coincidentally only

affected the three whistleblowers, may not have passed the smell test at any rate, the e-mails Defendant

withheld for years and only produced after the Court’s deadline, hereinafter referred to as the “Labor

Relations e-mails”, reveal that City Colleges was aware all along that there was no basis to fire the

Plaintiffs and that the restructuring was merely a third attempt for a justification to get rid of them on

the heels of their whistleblowing.

        The emails reveal that on the heels of Plaintiffs having reported the significant misconduct of

Roberto Torres, the Dean of Instruction, to the Office of Inspector General (“OIG”) in October

2019, President of Daley College, Janine Janosky, and Vice-President, Anne Panomitros, began

immediately scheming for how to fire the whistleblowers for alleged performance based reasons, but

they were admonished by several individuals within the District Labor Relations Office that they did

not have justification for termination, and, importantly, that the lack of justification raised a concern

about retaliation.




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         For example, after Dr. Janosky sent a document to the Deputy Chief Talent Officer, Eugene

Nichols, seeking to terminate Plaintiff Eileen Lynch for performance-based reasons (on the heels of

her whistleblowing), and listing purported justifications, the Executive Director of EEO and Labor &

Employee Relations, Aaron Allen, firmly rejected the request to terminate and expressed concerns

over retaliation, stating, inter alia:




...




[Ex. C, CCC_0051138-39] Mr. Nichols echoed these same concerns, saying “I totally agree. The

points you raise were also my concerns,” and he then relayed the concerns to Dr. Janosky. [Ex. D,

CCC_51177; Ex. E, CCC_51232-33] The Director of EEO, Labor & Employee Relations, Diandra

Ritchie also weighed in via an email to Defendant’s EEO Officer, Micki Yolich, stating:




[Ex. F, CCC_51180-81 ]

         Undeterred after being told they didn’t have justification to fire Plaintiff Lynch, Dr. Janosky

and Ms. Panomitros then decided to draft Performance Improvement Plans (“PIPs”) for Plaintiff

Lynch and another Plaintiff whistleblower, Erin Rubio. Yet, on account of the flimsy reasoning, they

never issued these PIPs to Plaintiffs, and Plaintiffs were never even made aware of them during their

employment. Instead, Dr. Janosky and Ms. Panomitros pivoted, within days, to a new plan to get rid

of the whistleblowers – a plan that Roberto Torres himself came up with. Specifically, it was Torres’s

idea to restructure the Department of Student Services as a means to fire all three of the whistleblowers

who reported his misconduct to the OIG. On November 10, 2019 – within weeks of Plaintiffs having


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reported him to the OIG – Torres sent Dr. Janosky and Ms. Panomitros an email suggesting that they

combine departments in a manner that would eliminate Plaintiff Lynch’s position as Dean of Student

Services, and in which email he specifically noted that “this plan does not include retention of the

current Associate Deans of Student Services (ADSS)”, i.e., the other two whistleblowers, but noting

“[w]e would need to hire a new ADSS – Student Activities as soon as possible.” [Ex. G,

CCC_0011038-42](emphasis added)1

           Discovery in this lawsuit has, thus, revealed that Dr. Janosky and Anne Panomitros acted

together to come up with any reason to fire the Plaintiffs in retaliation for, and on the heels of, them

reporting misconduct in the workplace. Yet, Defendant withheld, for nearly 2 years, the Labor

Relations emails that lay bare the brazen pretext that began with a request to fire Plaintiff Lynch under

the guise of poor performance only to be told by Labor Relations that there were no grounds to do

so, and that the suggested termination could appear retaliatory for her whistleblowing.

           Despite the obvious relevance of these Labor Relations emails to Plaintiffs’ claims of

retaliation, Defendant chose not to produce these Labor Relations e-mails: 1) in Defendant’s response

to Plaintiffs’ FOIA requests in 2020 (despite having produced several other emails); 2) in Defendant’s

non-ESI production in 20221 and 2022 (despite having produced several other emails as well as the

attachments – but only the attachments – to the Labor Relations emails); or 3) in Defendant’s rolling

ESI productions, which Defendant falsely certified it completed by March 31.

           When Plaintiffs’ counsel asked Defendant why it belatedly produced these documents mere

days before Ms. Saleh’s scheduled deposition, Defendant explained that it “initially withheld them as

privileged or protected from disclosure but later, upon further review, decided to withdraw the

privilege or protection and produce them to Plaintiffs.” [Ex. H, April 20 E-mail] It is, thus, clear

from Defendant’s own words that it knowingly withheld centrally relevant emails under a false claim


1   Unlike the Labor Relations emails, this e-mail from Torres was produced prior to the Court’s deadline.
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of privilege that even Defendant has conceded it could not support. These emails, many of which

have the subject line “Personnel Comsiderations” (sic)2, were neither sent to, nor received by,

Defendant’s legal counsel or any personnel in its legal department. Had Defendant continued to

assert a false claim of privilege over these plainly not privileged emails, Plaintiffs would have

continued to have been deprived of the evidence that is very damning to Defendant’s defense. As

the Seventh Circuit has recognized, the attorney client privilege “is in derogation of the search for

the truth and, therefore, must be strictly confined.” In re Grand Jury Proceedings, 220 F.3d 568, 571 (7th

Cir. 2000)(internal citation omitted).

           Because of Defendant’s admitted initial intent to conceal the evidence under a claim of

privilege, Plaintiffs are very troubled by the new 235 entry privilege log produced by Defendant

claiming privilege over communications discussing “personnel changes,” a subject nearly identical to

the “Personnel Considerations” subject line of the previously withheld Labor Relations emails.

What Plaintiff Seeks to Compel, after Conferring Pursuant to Local Rule 37.2

           On April 20, three weeks after the Court-ordered deadline of March 31 to fully complete its

written discovery obligations, Defendant finally produced its amended privilege log, comprising 235

new entries. [Ex. H, April 20 Email; Ex. I Amended Privilege Log] This log includes several entries

reflecting communications that refer to “personnel changes.” [Ex. I, Amended Privilege Log, p. 7-9,

12] Significantly, these emails, Entry Nos. 94-98, 105, 107-110, 113-121, 123, and 183, were all sent

during the very same timeframe in which Plaintiffs were fired (January 2020), at a time when the

Board was reviewing the request to fire them (February 11-13, 2020), when Roberto Torres was later

fired (February 13, 2020), and when the Board reviewed his termination (March 12, 2020). Concerned

that Defendant was, again, intending to conceal highly relevant evidence by improperly claiming

privilege over documents discussing personnel changes rather than legal advice, Plaintiffs’ counsel


2   Plaintiffs will refer to the subject line by correcting the typo going forward - as “Personnel Considerations.”
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scheduled, and participated in, a meet and confer with defense counsel on April 26, 2023. Plaintiffs

asked Defendant to produce the entries listed above that discuss “personnel changes,” explaining

that personnel decisions are not legal decisions and are, thus, not privileged.3 Defendant refused to

remove its assertions of privilege over these entries that discuss “personnel changes” and further

claimed it had no obligation to identify who the “personnel changes” related to, whether the emails

discussed Plaintiffs, or whether the legal counsel listed as recipients were truly recipients or whether

they were merely copied on each email.

        Based on Defendant’s demonstrated history of withholding highly relevant communications

that it admits it was intending to claim privilege over, and given that the law does not allow an

employer to shield from production business decisions, such as personnel decisions, with a claim of

privilege, Plaintiffs request that the Court compel Defendant to produce the identified entries.

Defendant’s Position:

                                                 ARGUMENT

Plaintiff’s Position:

        Defendant has not met its burden to establish the attorney-client privilege over Entries 94-

98, 105, 107-110, 113-121, 123, or 183, all of which Defendant describes as being related to personnel

changes. While the attorney-client privilege protects the “giving of professional advice” from an

attorney to their client, it does not provide a blanket claim of privilege over all communications

between attorney and client and does not protect communications regarding business decisions, such



3 Plaintiffs also raised other concerns about the inadequacy of the log. By way of example, the log at times does
not identify a sender or recipient, it often refers to discussions generically held regarding “FOIA request” or
“EEOC Charge” without specifying if the discussion related to Plaintiffs or not, and certain entries do not
reflect that an attorney or legal personnel was ever on the communication. Plaintiffs asked Defendant to amend
the log with additional detail in order to allow for a meaningful analysis of the merits of the privilege claim.
Although Defendant agreed to further amend the log, Plaintiffs have not yet received that amended log. Because
Defendant confirmed in a further meeting held on May 17, 2023, that it would not produce the entries at issue
in this motion, which Plaintiffs contend are not privileged, those entries are ripe for consideration by the Court.
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as terminating employees. Kodish v. Oak Brook Terrace Fire Protection Dist., 235 F.R.D. 447, 452 (N.D.

Ill. 2006); see also Smith v. Bd. of Educ., 2019 U.S. Dist. LEXIS 102326, at *3 (N.D. Ill. June 19,

2019)(“privilege is limited to situations in which the attorney is acting as a legal advisor,” finding that

decisions regarding termination of employees are business decisions). Furthermore, merely including

legal counsel on an email is insufficient to establish a communication as privileged. See Smith, at *8

(“it cannot be said that the primary purpose of these e-mails was to secure legal advice” where the

“e-mails in question were prepared by non-attorneys and sent to other non-attorneys…with a copy

to [counsel]”)4; Musa-Muaremi v. Florists’ Transworld Delivery, Inc., 270 F.R.D. 312, 316 (N.D. Ill. 2010).

           Although Defendant specifically asserts that it sought/received “legal advice” in myriad other

entries on its privilege log, see, e.g., Entries 52-54, there is absolutely no mention of legal advice in

Entries 94-98, 109-110, 114, 123, or 183, which is required to support an assertion of attorney-client

privilege. Deakin v. Old Town Triangle Ass’n, 2021 U.S. Dist. LEXIS 196508, at *2 (N.D. Ill. Feb. 12,

2021)(ordering defendant to produce documents whose privilege log descriptions did not suggest

that legal advice was being shared or discussed). Moreover, even where Defendant does use the

words “legal advice,” see Entries 105, 107-108, 113-121, its descriptions make clear the alleged advice

was regarding personnel decisions, which are, importantly, business decisions that are not privileged.

           “Decisions concerning the discipline and termination of employees are business decisions

and any legal advice sought or received is incidental to considerations of what is most prudent for

the successful operation of the business.” Smith, 2019 U.S. Dist. LEXIS 102326, at *5-6 (omitting

citations). In Kodish, for example, the court held that discussions regarding plaintiff’s work history,

the reasons for moving to terminate him, and any “discussion of what is desirable from an employee”

were all examples of discoverable information.235 F.R.D. at 453. Similarly, the documents reviewed

in Smith, which concerned “the process by which the plaintiff was placed on a performance


4   Here, Defendant refuses to even identify if counsel was the primary recipient or merely copied.
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improvement plan (“PIP”) and ultimately terminated…[did] not fit within the definition of privileged

legal advice.” 2019 U.S. Dist. LEXIS 102326, at *6.

        Accordingly, where Defendant has shown itself willing to use claims of privilege to conceal

and withhold highly relevant communications for years, as it did with the Labor Relations emails,

and where the privilege log reveals that Defendant is continuing to withhold further communications

regarding “personnel” decisions that are not privileged, Plaintiffs respectfully request that the Court

compel Defendant to produce those emails found in Entries 94-98, 105, 107-110, 113-121, 123, and

183, as Defendant has failed to meet its burden of establishing attorney-client privilege.

        Alternatively, should the Court require more information to assess the applicability – or lack

thereof – of the privilege, Defendant should be required to produce the materials for in camera

inspection. In re Grand Jury Proceedings, 220 F.3d 568, 571 (7th Cir. 2000). Upon in camera review, the

Court will be best suited to determine what portion, if any, of the communications is privileged.

            Request for Ruling on Documents Subject to Prior Privilege Dispute

        In the parties’ Second Joint Motion to Resolve Discovery Disputes, filed on January 26, 2023,

Plaintiffs asked the Court to compel Defendant to produce Entries 11, 12, and 19 of its initial

privilege log, which consists of two emails and one audio recording of a meeting of Defendant’s

Board of Trustees. [Docket No. 73, p. 21] The Court ordered Defendant to submit those entries for

an in camera review, [Docket No. 79, p. 21], which Defendant did on February 14, 2023. The Court

has not yet ruled on these three entries. As the parties have already commenced oral discovery, and

with Janine Janosky’s deposition currently scheduled for June 12, 2022, Plaintiffs respectfully ask that

the Court rule on Entries 11, 12, and 19 as soon as possible and in advance of June 12, 2023 in order

to allow for a full review all relevant materials in advance of the upcoming depositions.

     /s/M. Megan O’Malley_____                     /s/
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